
LYONS, Judge.
Delivered the resolution of the Court, that, in order to render the defendant liable, it ought to have been averred, in the declaration, that the defendant had assets,† or that the plaintiff forborne,‡ or that there was some other consideration. But, this having been omitted, that the judgment was erroneous, and to be reversed; and judgment on the verdict arrested, on account of the insufficiency of the declaration. §

[† Trewinian v. Horvell Cro. Eliz. 91.]


[‡ Bane's Case, 9 Rep. 94, Goring v. Goring, Yelv. 11; Scot v. Stephenson, 1 Lev. 71.]


[§ See Hindsley v. Russell, ex'r. 12 East, 232.]

